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                                                                     January 31, 2022

 VIA ECF
 Hon. Tonianne J. Bongiovanni, U.S.M.J.
 Clarkson S. Fisher Federal Building
  and U.S. Courthouse
 402 E. State Street
 Trenton, New Jersey 08608

            Re:       UMG Recordings, Inc. et al. v. RCN Telecom Services, LLC et al.
                      Civil Action No. 19-17272 (MAS) (TJB)

 Dear Judge Bongiovanni:

         This firm, Jenner & Block LLP, and Stein Mitchell Beato & Missner LLP jointly
 represent Plaintiffs in the above-referenced action. Pursuant to Local Civil Rule 37.1(a)(1), we
 submit this letter in response to the discovery dispute letter filed by Defendants and
 Counterclaimant RCN Telecom Services, LLC, et al. (“RCN”) on December 30, 2021 (ECF
 196). RCN argues in its letter that the Court should compel Plaintiffs to respond to an
 interrogatory seeking information about certain decisions they allegedly made concerning the use
 of Digital Rights Management (“DRM”) technology on authorized downloads offered for sale to
 the public through the iTunes store.1 RCN concedes that such decisions were made in 2009, two
 years prior to the first instance of copyright infringement at issue in this case and seven years
 before Plaintiffs were first aware of any such infringements. Such pre-infringement conduct is
 irrelevant to Plaintiffs’ claims and RCN’s defenses as a matter of law. Accordingly, the Court
 should reject RCN’s discovery request as nothing more than an improper fishing expedition.
                                                                     2
 RELEVANT FACTS AND BACKGROUND

       Plaintiffs in this case are the three major record companies in the United States: Universal
 Music Group, Sony Music Entertainment, and Warner Music Group. They initiated this lawsuit

 1
   DRM technologies endeavor to, among other things, restrict the distribution of digital files
 containing copyrighted content.
 2
  Plaintiffs refer the Court to their December 30, 2021 discovery letter brief (ECF 194), § 1
 Background, for a more detailed description of the case background.

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 to seek redress for RCN’s actions in contributing to and profiting from the widespread
 infringement of Plaintiffs’ copyrighted sound recordings by RCN’s subscribers on the peer-to-
 peer file-sharing network known as BitTorrent. As the Court is aware, the fact that RCN’s
 subscribers infringed Plaintiffs’ copyrights using BitTorrent was discovered by Rightscorp, Inc.,
 which developed a proprietary technology to monitor BitTorrent activity, document instances of
 copyright infringement, download sample infringing files from BitTorrent users, and send
 notices of copyright infringement to BitTorrent users’ internet service providers. It is undisputed
 that Rightscorp began sending copyright infringement notices to RCN in 2011.

        Rightscorp sent notices to RCN on behalf of copyright owners other than Plaintiffs.3
 Thus, Plaintiffs had no reason to be and in fact were not aware of the infringements Rightscorp
 discovered. However, in December 2015, a jury found a different internet services provider
 (Cox Communications) liable for copyright infringement based on Rightscorp’s evidence.
 Thereafter, in 2016, Plaintiffs’ trade organization, the Recording Industry Association of
 America, Inc. (“RIAA”) entered into an agreement with Rightscorp to obtain some of the data
 Rightscorp had developed relevant to the infringements at issue herein.4

          RCN’s Interrogatory No. 12 requests Plaintiffs to “[i]dentify all persons who participated
 in Plaintiffs’ decision in or around 2009 to remove Digital Rights Management (‘DRM’) from
 sound recordings sold through the iTunes Store.” See ECF 196-1, at 30–31. The only
 justification RCN offers for this discovery request is that it is allegedly relevant to RCN’s
 affirmative defense that Plaintiffs failed to mitigate their damages. See ECF 196 at 1.

 LEGAL STANDARD

         Federal Rule of Civil Procedure 26 limits discovery to matters “relevant to any party’s
 claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(2). It is well
 established that under Rule 26, “parties may only obtain discovery regarding issues properly
 presented and pending in the lawsuit.” In re Merck & Co., Inc. Sec., Derivative & ERISA Litig.,
 No. 05-2367 SRC, 2012 WL 4764589, at *7 (D.N.J. Oct. 5, 2012), aff’d sub nom. In re Merck &
 Co., Inc. Sec., No. CV 05-1151 (SRC), 2012 WL 12904796 (D.N.J. Dec. 12, 2012) (denying
 discovery into categories of information not relevant to proper claims or defenses).

 3
   Recorded music contains intellectual property protected by two distinct copyrights: one in the
 sound recording, and one in the underlying musical composition performed on the sound
 recording. Rightscorp acted on behalf of musical composition copyright owners. Plaintiffs own
 sound recording copyrights.
 4
  The RIAA and Rightscorp entered into a subsequent agreement in 2019 regarding Rightcorp’s
 evidence related to RCN.

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 ARGUMENT

         RCN concedes that it is seeking information on decisions Plaintiffs allegedly made in
 2009, two years before Rightscorp began sending the infringement notices to RCN that form the
 basis of Plaintiffs’ claims and seven years before Plaintiffs had knowledge of any of the
 infringements documented by Rightscorp’s evidence. Thus, the information RCN seeks is
 irrelevant, as a matter of law, to the issue of whether Plaintiffs purportedly failed to mitigate their
 damages.

         Even assuming failure to mitigate is a cognizable defense in this action,5 it is necessarily
 limited to Plaintiffs’ actions (or inaction) after they became aware of the copyright infringements
 for which they seek to collect damages, or at a minimum after those infringements occurred. In
 its traditional application to a tort claim, the failure-to-mitigate defense must be premised on
 “some act or omission after the original injury had already occurred.” Vizzini v. Ford Motor Co.,
 569 F.2d 754, 765 (3d Cir. 1977) (emphasis added). The same limitation applies to a claim for
 copyright infringement. In the primary authority on which RCN relies, the Fifth Circuit held that
 “the ‘duty to mitigate’ refers to methods of apportioning damages in light of a plaintiff’s
 reasonable efforts to reduce loss after an injury occurs, not before.” Energy Intelligence Grp.,
 Inc. v. Kayne Anderson Capital Advisors, L.P., 948 F.3d 261, 274 (5th Cir. 2020) (emphasis in
 original).6

        In this case, Plaintiffs do not claim they were injured by RCN before 2011, when
 Rightscorp began detecting infringements on RCN’s network and sending infringement notices
 to RCN, which RCN ignored. Further, Plaintiffs were not aware of any of those infringements—
 and thus were not in a position to take any steps to mitigate any of their potential damages—until
 2016, when the RIAA first obtained evidence of some of those infringements from Rightscorp.

 5
   Plaintiffs have not yet elected whether they seek to recover actual or statutory damages in this
 action. See 17 U.S.C. § 504 (giving copyright plaintiff choice of what type of damages to seek).
 If they ultimately elect to seek statutory damages, RCN’s alleged failure-to-mitigate defense is
 “inapplicable” as a matter of law. Arista Records, Inc. v. Flea World, Inc., 356 F. Supp. 2d 411,
 422 (D.N.J. 2005).
 6
   By contrast, a tort plaintiff’s relative culpability prior to its alleged injury “generally has been
 addressed in terms of contributory and comparative negligence.” Vizzini, 569 F.2d at 765. RCN
 did not and could not plead any such defense to Plaintiffs’ claims because such defenses are
 unavailable in copyright infringement actions as a matter of law. See Malibu Media, LLC v.
 Ryder, No. 13-cv-01538, 2014 WL 1040478, at *2 (D. Colo. Mar. 18, 2014) (striking
 contributory negligence defense to copyright claim); Malibu Media, LLC v. House, No. 13-cv-
 12218, 2013 WL 5954571, at *2 (E.D. Mich. Nov. 17, 2013) (same).

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 Yet RCN is seeking information on measures taken (or not taken) in 2009, two years before the
 first of the infringements identified by Rightscorp’s notices and seven years before Plaintiffs
 knew about any of those infringements. Thus, any alleged decisions Plaintiffs made regarding
 DRM are necessarily limited to pre-injury conduct that is irrelevant to RCN’s failure-to-mitigate
 defense.

         Finally, the discovery sought by RCN is not proportional to the needs of the case. RCN
 seeks information about decisions allegedly made 13 years ago. At this point, it may prove
 difficult to identify relevant individuals. Further, the identification of such persons is of minimal
 value in that their memories of this issue will undoubtedly have faded. Finally, since the subject
 itself has no relevance to any issue properly in the case, permitting the discovery sought will
 simply waste time without leading to the discovery of any admissible evidence.

 CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court sustain their
 objection to the relevance of RCN’s Interrogatory No. 12.



                                                       Respectfully submitted,

                                           MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                                        s/ Thomas R. Curtin

                                                        THOMAS R. CURTIN

 cc: All counsel (via ECF and e-mail)




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